                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
                           5:13-CR-00096-KDB-DSC-7
USA                                        )
                                           )
    v.                                     )              ORDER
                                           )
LAVORIS QUOSEAN HECTOR                     )
                                           )

         THIS MATTER is before the Court on Defendant Lavoris Quosean Hector’s

pro se motion for reconsideration of compassionate release pursuant to 18 U.S.C. §

3582(c)(1)(A) and the First Step Act of 2018 and appointment of counsel (Doc. No.

227). This is Defendant’s second filing with the Court asserting the same general

complaints and requesting compassionate release. (Doc. No. 224). Having carefully

reviewed the Defendant’s motion and all other relevant portions of the record, the

Court will deny the motion without prejudice to a renewed motion properly supported

by evidence and after exhaustion of his administrative remedies.

         Defendant’s previous motion for compassionate release was denied for failure

to exhaust his administrative remedies within the Bureau of Prisons as required

under 18 U.S.C. § 3582(c)(1)(A) and not properly supported by evidence. According

to the BOP website, FCI Beckley, currently has 5 inmates and 1 staff with confirmed

active cases of COVID-19. There are approximately 1,200 inmates at FCI Beckley.

There have been no inmate nor staff deaths and 18 inmates and 5 staff have

recovered. Given these conditions, the Court finds no reason to disturb its prior

ruling requiring Defendant to exhaust his administrative remedies within the BOP




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before petitioning this Court for relief. (Doc. No. 226). This Court has previously

addressed the Defendant’s request and the Defendant presents no new evidence that

would change the Court’s prior ruling.

      Defendant asks the Court to appoint him counsel to assist him with his request

for a compassionate release. However, “a criminal defendant has no right to counsel

beyond his first appeal.” United States v. Legree, 205 F.3d 724, 730 (4th Cir. 2000)

(quoting Coleman v. Thompson, 501 U.S. 722, 756 (1991).           “Though in some

exceptional cases due process does mandate the appointment of counsel for certain

postconviction proceedings,” the defendant has not presented a showing of such

exceptional circumstances in this case. Legree, 205 F.3d at 730 (internal citation

omitted). The Court finds that the interests of justice do not require appointment of

counsel to assist the Defendant at this time.

      IT IS, THEREFORE, ORDERED, that the Defendant’s pro se motion for

reconsideration of compassionate release pursuant to 18 U.S.C. § 3582(c)(1)(A) and

the First Step Act of 2018 and appointment of counsel (Doc. No. 227), is DENIED

without prejudice to a renewed motion properly supported by evidence and after

exhaustion of his administrative remedies.


      SO ORDERED.

                               Signed: October 27, 2020




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